August 26, 2022

Clerk of Court
United States District Court
251 N. Main Street
Winston Salem, NC 27101



Re:        Philadelphia Indemnity Ins. Co. v. Trustees of Rowan-Cabarrus
           Community College; MDNC Case No. 1:22-CV-00041-LCB-JEP                                        Mark P. Henriques
                                                                                                         Partner
                                                                                                         Direct Dial: 704-331-4912
                                                                                                         Direct Fax: 704-338-7830
                                                                                                         E-mail: Mark.Henriques@wbd-us.com



Dear Clerk,

        Jasmine Farmer will join Womble Bond Dickinson (US) LLP (“WBD”) as an associate on
September 6, 2022. Jessica previously served as a law clerk for the Honorable Loretta C. Biggs
in the U.S. District Court for North Carolina, Middle District.

        Under the applicable Rules of Professional Conduct, WBD is required to screen Ms.
Farmer from all matters in which she was involved personally and substantially during her
clerkship. As Ms. Farmer’s matters are confidential, in an abundance of caution, WBD will screen
Ms. Farmer from this matter in front of the Honorable Loretta C. Biggs – Philadelphia Indemnity
Insurance Company v. Trustees of Rowan-Cabarrus Community College, 1:22cv41-LCB-JEP
(M.D.N.C) (the “Matter”). Ms. Farmer is screened from the Matter and is prohibited from working
on or being involved in the Matter. Likewise, she is prohibited from bringing to Firm any materials
related to her former clerkship or the Matter.

           If you have any questions or concerns, please do not hesitate to call me.

                                                                    Respectfully,

                                                                    Womble Bond Dickinson (US) LLP




                                                                    Mark P. Henriques

cc:        Jeffrey S. Price (via email to: jprice@manierherod.com)
           Brian D. Darer (via email to: briandarer@parkerpoe.com)




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